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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


      UNITED STATES, et al.,

                                    Plaintiffs,

             vs.                                             No. 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                                    Defendant.



                             GOOGLE LLC’S NOTICE OF FILING

            As directed by the Court (Dkt. Nos. 547 & 871) Defendant Google LLC (“Google”)

     sent notice to third parties whose confidential documents or information were identified for

     potential use at trial, including AppLovin Corporation (“AppLovin”). Instead of filing its

     objections and proposed redactions, AppLovin sent them to Google’s counsel. AppLovin

     appears to have misunderstood the Court’s directive. So that AppLovin’s contentions are

     presented to the Court, Google now files those papers with the Court, but Google takes no

     position on the contentions asserted by AppLovin.
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     Dated: July 26, 2024.                Respectfully submitted,

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